Case 2:23-cv-16873-MCA-MAH               Document 89    Filed 01/07/25     Page 1 of 1 PageID: 513




                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


  NINA AGDAL,                                          Civil Action No. 2:23-cv-16873-MCA-MAH

                            Plaintiff,

           v.

  DILLON DANIS,                                             NOTICE OF WITHDRAWAL OF
                                                                  APPEARANCE
                            Defendant.




          PLEASE TAKE NOTICE that Linxuan Yan of the firm Sills Cummis & Gross P.C.

  hereby notifies the Court and counsel for all parties of his withdrawal of appearance on behalf of

  Plaintiff Nina Agdal. Linxuan Yan will no longer be employed by Sills Cummis & Gross P.C.

  starting from January 9, 2025. Other attorneys of Sills Cummis & Gross P.C. will continue to

  represent Plaintiff and appear on her behalf.



                                                  s/ Linxuan Yan
                                                  Linxuan Yan
                                                  SILLS CUMMIS & GROSS P.C.
                                                  One Riverfront Plaza
                                                  Newark, New Jersey 07102
                                                  (973) 643-7000
                                                  lyan@sillscummis.com

                                                  Attorneys for Plaintiff Nina Agdal
 Dated:   January 7, 2025
